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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ALICIA GEERLINGS, et al.,
                                              Civil Action
                      Plaintiffs,
                                              No. 21-cv-4024
               v.

 TREDYFFRIN/EASTTOWN SCHOOL
 DISTRICT,

                      Defendant.

                                         ORDER

       AND NOW, this 8th day of November, 2021, it is hereby ORDERED that Defendant’s

Motion to Dismiss (ECF No. 22) is DENIED WITHOUT PREJUDICE for failure to follow the

procedure for Rule 12(b) motions set out in my policies and procedures, available at

https://www.paed.uscourts.gov/documents/procedures/gldpola.pdf.


                                          BY THE COURT:



                                          /s/ Mitchell S. Goldberg
                                          MITCHELL S. GOLDBERG, J.
